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                                         The Law Offices Of

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                                                            October 30, 2020

Hon. J. Paul Oetken
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
Courtroom 706
New York, NY 10007

               Re: United States v. Lev Parnas, et. al., 19-cr-725 (JPO)

Dear Judge Oetken:

         Lev Parnas respectfully requests modification of his pre-trial release, to allow him to travel
to his local polling place on November 3, 2020, in the company of his two sons, Aaron and
Daniel, to vote.

       I have communicated with the Government and Pre-Trial Services, and neither object to this request.

       Thank you in advance for consideration of this application.

                                                            Respectfully submitted,


                                                            Joseph A. Bondy

cc:    All Counsel (PACER)
       USPTOs Joshua Rothman
       Justin Brownlee (e-mail)




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